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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA               :     CRIMINAL NO. 1:21-CR-0026-02
                                       :
                                       :     (Judge Conner)
             v.                        :
                                       :
ROHAN LYTTLE,                          :
                                       :
             Defendant(s)              :

                                       ORDER


      The defendant(s) having appeared on March 31, 2021 and having tendered a
plea(s) of not guilty to the superseding indictment, IT IS ORDERED that the jury
selection and trial date for the defendant is scheduled for 9:30 a.m. on June 7, 2021,
in Courtroom Number 2, Ninth Floor, Federal Building, Third and Walnut Streets,
Harrisburg, Pennsylvania. Trial will commence following jury selection or following
previously scheduled criminal trials. An additional scheduling order will be entered
by the District Court.


       3-31-2021
Date: _______________                        s/ Martin C. Carlson
                                             _________________________
                                             Martin C. Carlson
                                             United States Magistrate Judge
